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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

JOSE CHAVARRI, ET AL,                      :
     Plaintiffs,                           :             CIVIL CASE NO.
                                           :             3:20cv1546 (JCH)
v.                                         :
                                           :
FAMILY FIRST LIFE, LLC,                    :             MARCH 2, 2021
     Defendant.                            :


            RULING RE: DEFENDANT’S MOTION TO STAY (DOC. NO. 28)

       Defendant’s Motion to Stay (Doc. No. 28) is denied. Defendant has moved to

stay discovery in this case for a “brief” time until the predicted decision in the Duguid v.

Facebook, Inc., 926 F.3d 1146 (9th Cir. 2019), cert. granted, 2020 207 L. Ed. 2d 1118

(U.S. July 9, 2020) (No. 19-511) case pending before the Supreme Court. Defendants

estimate a decision in May 2021.

       The Motion is denied for several reasons. First, the court does not view the stay

period as “brief.” When made, there were four months until May, and five if the decision

is not issued until the end of the Supreme Court term. The court expects discovery to

take typically twelve months, and the 4, or 5, months sought to stay is a significant part

of that period. Second, it is not at all clear that the Facebook decision will resolve this

case, first as stay movants often overlook, the Supreme Court could affirm the Ninth

Circuit. Further, the instant case has do-not-call claims separate from the calls

allegedly involving an ATDS. Lastly, it appears discovery on how/what system the

defendant used to place calls (recognizing they deny they placed any) will be needed.

       For all these reasons, the Motion to Stay (Doc. No. 28) is denied.
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SO ORDERED.

    Dated at New Haven, Connecticut this 2nd day of March 2021.




                                   /s/ Janet C. Hall
                                   Janet C. Hall
                                   United States District Judge




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